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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

    DANIELLE PISARZ
    On behalf of himself and all          Civil No. 16-4552(FLW)
    Others similarly situated

                   Plaintiff,             ORDER OF DISMISSAL
          vs

    GC SERVICES LIMITED
    PARTNERSHIP

                   Defendant,

      This matter having been reported settled and the Court

having administratively terminated the action for sixty (60)

days so that the parties could submit the papers necessary to

terminate the case, see Fed. R. Civ. P. 41(a)(1)(A)(ii), L. Civ.

R. 41.1, and the sixty-day time period having passed without the

Court having received the necessary papers;

      IT IS on this 4th       day of April, 2018

      ORDERED that the Clerk of the Court shall reopen the case

and make a new and separate docket entry reading “CIVIL CASE

REOPENED”; and it is further

      ORDERED that this matter be, and the same hereby is,

DISMISSED WITH PREJUDICE, and without costs pursuant to Fed. R.

Civ. P. 41(a)(2).

                                          s/Freda L. Wolfson
                                          FREDA L. WOLFSON, U.S.D.J.
